Case 1:13-cv-01945-WJM-SKC Document 18 Filed 08/07/13 USDC Colorado Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-01945-WJM-CBS
  TYLER SANCHEZ

         Plaintiff,

  v.

  DETECTIVE JOE RYAN HARTLEY,
  DETECTIVE RYAN WOLFF,
  DETECTIVE MIKE DUFFY,
  DETECTIVE HEATHER MYKES, and
  INVESTIGATOR MICHAEL DICKSON, in their individual capacities,
  BOARD OF COUNTY COMMISSIONERS OF DOUGLAS COUNTY, and
  DOUGLAS COUNTY SHERIFF’S OFFICE,

         Defendants.


                             STIPULATED PROTECTIVE ORDER


         Under Rules 26(c) and 26(c)(7), Fed. R. Civ. P., upon a showing of good cause

  in support of the entry of a protective order to protect the discovery and dissemination of

  confidential and proprietary information or information which will improperly annoy,

  embarrass, or oppress any party, witness, or person providing discovery in this case, IT

  IS ORDERED:

         1.      This Protective Order shall apply to all documents, materials, and

  information,   including   without   limitation,   documents    produced,    answers     to

  interrogatories, responses to requests for admission, deposition testimony, and other

  information disclosed pursuant to the disclosure or discovery duties created by the

  Federal Rules of Civil Procedure.

         2.      As used in this Protective Order, the term “document” is defined as
Case 1:13-cv-01945-WJM-SKC Document 18 Filed 08/07/13 USDC Colorado Page 2 of 6




  provided in Fed.R.Civ.P. 34(a). A draft or non-identical copy is a separate document

  within the meaning of this term.

         3.     Information designated “CONFIDENTIAL” shall be information that is

  confidential, including but not limited to personnel information regarding employees of a

  party to this litigation, the Plaintiff’s or any individual Defendant’s health or tax

  information, any third party’s health or tax information, the identity of the minor victim of

  the sexual assault for which Plaintiff was arrested, and/or other information which is

  entitled to protection under Fed.R.Civ.P. 26(c).             As a condition of designating

  information as CONFIDENTIAL, the information must be reviewed by a lawyer who

  must make a good faith determination that the information is entitled to protection, and

  designating the information as CONFIDENTIAL represents the attorney’s certification of

  this determination.

         4.     CONFIDENTIAL information shall not be disclosed or used for any

  purpose except the preparation and trial of this case. The duty to keep CONFIDENTIAL

  information confidential survives the completion of this case.

         5.     CONFIDENTIAL documents, materials, and/or information (collectively

  “CONFIDENTIAL information”) shall not, without the consent of the party producing it or

  further Order of the Court, be disclosed except that such information may be disclosed

  subject to Paragraph 11 of this Order to:

                (a)     attorneys actively working on this civil action;

                (b)     persons regularly employed or associated with the attorneys

                        actively working on this civil action whose assistance is required by

                        said attorneys in the preparation for trial, at trial, or at other




                                                 -2-
Case 1:13-cv-01945-WJM-SKC Document 18 Filed 08/07/13 USDC Colorado Page 3 of 6




                      proceedings in this civil action;

               (c)    the parties;

               (d)    expert witnesses and consultants retained in connection with this

                      civil action, to the extent such disclosure is necessary for

                      preparation, trial or other proceedings in this civil action;

               (e)    the Court and its employees (“Court Personnel”);

               (f)    stenographic reporters who are engaged in proceedings

                      necessarily incident to the conduct of this civil action;

               (g)    deponents, witnesses, or potential witnesses;

               (h)    jurors and copying services; and

               (i)    other persons by written agreement of the parties.

        6.     Prior to disclosing any CONFIDENTIAL information persons listed in

  subparagraphs 5(d) or 5(g), counsel shall provide such person with a copy of this

  Protective Order and obtain from such person a written acknowledgment stating that he

  or she has read this Protective Order and agrees to be bound by its provisions. All such

  acknowledgments shall be retained by counsel and shall be subject to in camera review

  by the Court if good cause for review is demonstrated by opposing counsel. Other

  exceptions to the requirement of written acknowledgment may be made by written

  agreement of the parties.

        7.     Documents are designated as CONFIDENTIAL by placing or affixing on

  them (in a manner that will not interfere with their legibility) the following notice:

  “CONFIDENTIAL.”

        8.     Any party that wishes to file CONFIDENTIAL information with the Court




                                              -3-
Case 1:13-cv-01945-WJM-SKC Document 18 Filed 08/07/13 USDC Colorado Page 4 of 6




  must move the Court to file such information under seal pursuant to D.C.COLO.LCivR

  7.2 unless the party making the CONFIDENTIAL notation agrees in writing that the

  information may be filed without seal.

         9.     Whenever a deposition involves the disclosure of CONFIDENTIAL

  information, the deposition or portions thereof shall be designated as CONFIDENTIAL

  and shall be subject to the provisions of this Protective Order. Such designation shall

  be made on the record during the deposition whenever possible, but a party may

  designate portions of depositions as CONFIDENTIAL after transcription, provided

  written notice of the designation is promptly given to all counsel of record within thirty

  (30) days after notice by the court reporter of the completion of the transcript.

         10.    A party may object to the designation of particular CONFIDENTIAL

  information by giving written notice to the party designating the disputed information.

  The written notice shall identify the information to which the objection is made. If the

  parties cannot resolve the objection within ten (10) business days after the time the

  notice is received, it shall be the obligation of the party designating the information as

  CONFIDENTIAL to file an appropriate motion requesting that the Court determine

  whether the disputed information should be subject to the terms of this Protective Order.

  If such a motion is timely filed, the disputed information shall be treated as

  CONFIDENTIAL under the terms of this Protective Order until the Court rules on the

  motion. If the designating party fails to file such a motion within the prescribed time, the

  disputed information shall lose its designation as CONFIDENTIAL and shall not

  thereafter be treated as CONFIDENTIAL in accordance with this Protective Order. In

  connection with a motion filed under this provision, the party designating the information




                                               -4-
Case 1:13-cv-01945-WJM-SKC Document 18 Filed 08/07/13 USDC Colorado Page 5 of 6




  as CONFIDENTIAL shall bear the burden of establishing that good cause exists for the

  disputed information to be treated as CONFIDENTIAL.

         11.    Following the conclusion of the case, the parties may return or destroy the

  CONFIDENTIAL information or may retain the CONFIDENTIAL information subject to

  the terms of this Protective Order.

         12.    This Protective Order may be modified by the Court at any time for good

  cause shown following notice to all parties and an opportunity for them to be heard.

                     7th day of _____________________,
         DATED this _____          August              2013.

                                           BY THE COURT:


                                            s/ Craig B. Shaffer
                                           United States Magistrate Judge




                                             -5-
Case 1:13-cv-01945-WJM-SKC Document 18 Filed 08/07/13 USDC Colorado Page 6 of 6




  STIPULATED BY:


  s/Sarah J. Parady

  John A. Culver, Esq.
  Sarah J. Parady, Esq.
  Seth J. Benezra, Esq.
  BENEZRA & CULVER, P.C.
  274 Union Blvd., #220
  Lakewood, CO 80228-1835
  (303) 716-0254
  sjparady@bc-law.com
  Attorneys for Plaintiff

  s/Gordon L. Vaughan

  Gordon L. Vaughan, Esq.
  VAUGHAN & DeMURO
  111 South Tejon, Suite 545
  Colorado Springs, CO 80903
  Telephone: 719-578-5500
  gvaughan@vaughandemuro.com
  Attorney for Defendants Hartley and Wolff

  s/Kelly Dunnaway

  Kelly Dunnaway, Esq.
  Patrick Field, Esq.
  DOUGLAS COUNTY ATTORNEY’S OFFICE
  100 Third St.
  Castle Rock, CO 80104
  (303) 660-7414
  kdunnawa@co.douglas.co.us
  Attorney for Defendants Duffy, Mykes,
  Board of County Commissioners, and Sheriff’s Office

  s/Andrew D. Ringel

  Andrew D. Ringel, Esq.
  HALL & EVANS, L.L.C.
  1125 17th Street, Suite 600
  Denver, CO 80202-2052
  303-628-3453; Fax: 303-293-3238
  ringela@hallevans.com
  Attorney for Defendant Dickson



                                              -6-
